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Fill in this information to identify your case:

United States Bankruptcy Court for the:

EASTERN DISTRICT OF NORTH CAROLINA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                CAH Acquisition Company 12, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Fairfax Community Hospital
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  40 Hospital Road                                                PO Box 955734
                                  Fairfax, OK 74637                                               Saint Louis, MO 63195
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Osage                                                           Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       http://www.fairfaxcommunityhospital.com/


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 1
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Debtor    CAH Acquisition Company 12, LLC                                                               Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 6221

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

                                          Chapter 11. Check all that apply:
                                                                  Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                  are less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                  The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                  business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                  statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                  procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a                          Western District of
     separate list.                               District   Missouri                      When      10/10/11                    Case number   11-44749
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,                         CAH Acquisition Company #1, LLC d/b/a
     attach a separate list                       Debtor     Washington Co. Hospital                                         Relationship            Affiliate
                                                             Eastern District of
                                                  District   North Carolina                When       2/19/19                Case number, if known   19-00730-5-JNC



Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 2
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Debtor   CAH Acquisition Company 12, LLC                                                           Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




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Debtor    CAH Acquisition Company 12, LLC                                                          Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 17, 2019
                                                  MM / DD / YYYY


                             X   /s/ Jorge Perez                                                          Jorge Perez
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Board Chairman




18. Signature of attorney    X   /s/ Rayford K. Adams III                                                  Date March 17, 2019
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Rayford K. Adams III
                                 Printed name

                                 Spilman Thomas & Battle, PLLC
                                 Firm name

                                 110 Oakwood Drive
                                 Suite 500
                                 Winston Salem, NC 27103
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     336-725-4710                  Email address      tadams@spilmanlaw.com

                                  NC
                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name CAH Acquisition Company 12, LLC
 United States Bankruptcy Court for the: EASTERN DISTRICT OF NORTH                                                                                    Check if this is an
                                                CAROLINA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Beckman Coulter                                                 Open account                                                                                               $7,926.93
 250 South Kraemer
 Blvd.
 Brea, CA 92820
 Gemino Healthcare                                                                                               $4,600,000.00                         $0.00          $4,600,000.00
 Finance
 1 International Plaza
 Suite 220
 Philadelphia, PA
 19113
 Hippa-Guard                                                     Open Account                                                                                             $29,538.00
 1608 S. Ashland Ave
 #86038
 Chicago, IL 60608
 IHEALTHCARE INC                                                 Open Account                                                                                           $472,625.00
 3901 NW 28th St.,
 2nd Floor
 Miami, FL 33142
 Lapcorp                                                         Open account                                                                                               $7,266.96
 PO Box 12140
 Burlington, NC
 27215
 Medline Indusstries,                                            Open account                                                                                               $8,518.71
 Inc.
 8001 SW 47th Street
 Wheatland, OK
 73097
 Miller EMS, LLC                                                 Open Account                                                                                             $14,481.86
 514 1st Street
 Medford, OK 73759
 Patriot Placement                                               Open Account                                                                                             $18,035.90
 Staffing
 2105 Briarwood
 Drive
 Amarillo, TX 79124




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    CAH Acquisition Company 12, LLC                                                                    Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 PLICO                                                           Open Account                                                                                             $12,010.50
 PO Box 1838
 Oklahoma City, OK
 73101
 PRN Funding LLC                                                 Open account                                                                                               $9,188.50
 25101 Chagrin Blvd
 #250
 Beachwood, OH
 44122
 Quality Systems,                                                Open Account                                                                                           $124,881.76
 Inc.
 PO Bolx 511449
 Los Angeles, CA
 90051
 Reboot, Inc.                                                    Open Account                                                                                             $57,744.00
 PO Box 775535
 Chicago, IL 60677
 Rural Community                                                 Open Account                                                                                           $338,178.30
 Hospitals of Americ
 Attn: Steven F.
 White
 700 Chappell Road
 Charleston, WV
 25304
 Shared Medical                                                  Open Account                                                                                             $30,450.00
 Services, Inc.
 PO Box 330
 Cottage Grove, WI
 53527
 Shi Headquarters                                                Open account                                                                                               $7,539.25
 300 Davidson Ave
 Somerset, NJ 08873
 Sizewize                                                        Open account                                                                                             $10,075.02
 PO Box 320
 Ellis, KS 67637
 Standley Systems                                                Open account                                                                                               $9,181.98
 PO Box 460
 Chickasha, OK
 73023
 State of OK - OSU                                               Open account                                                                                               $7,410.00
 Cntr for Hlth Sci
 1111 W. 17th Street
 Tulsa, OK 74107
 Sysco Food                                                      Open account                                                                                             $10,307.89
 Services
 PO Box 1127
 Norman, OK 73070
 Trucode LLC                                                     Open Account                                                                                             $18,219.00
 PO Box 5847
 Alpharetta, GA
 30023



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                                                               United States Bankruptcy Court
                                                                     Eastern District of North Carolina
 In re      CAH Acquisition Company 12, LLC                                                               Case No.
                                                                                     Debtor(s)            Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the Board Chairman of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and

correct to the best of my knowledge.




 Date:       March 17, 2019                                               /s/ Jorge Perez
                                                                          Jorge Perez/Board Chairman
                                                                          Signer/Title




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A+ Printing                               American Osteopathoc Assoc.          Comtrix Solutions
119 N. 3rd Street                         142 E. Ontario Street                22656 Philomont Ridge Court
Ponca City, OK 74601                      Chicago, IL 60611                    Ashburn, VA 20148




AAAASF Office                             Apria Healthcare, LLC                Dock & Lock Storage
PO Box 9500                               11414 East 51st Street, Suites D-F   70 Industry Drive
Gurnee, IL 60031                          Tulsa, OK 74146                      West Haven, CT 06516




ABBVIE                                    Auto Chlor Services, LLC             Drugs of Abuse Testing Lab
ATTN: Dept V345                           1714 SE 66th Street                  2626 S. Sheridan Road
North Chicago, IL 60064                   Oklahoma City, OK 73149              Tulsa, OK 74129




Accurad Medical Imaging Services          BCBS New Mexico/PBPP                 Empower HMS
10830 E. Newton Place                     4411 The 25 Way                      1700 Swift Avenue
Tulsa, OK 74116                           Albuquerque, NM 87109                Suite 200
                                                                               Kansas City, MO 64116



Accuratenow                               Beckman Coulter                      EPIC
1930 North Poplar Street, Suite 20        250 South Kraemer Blvd.              95 3rd Street NE
Southern Pines, NC 28387                  Brea, CA 92820                       Waite Park, MN 56387




Advance Boiler Repr & SVC                 Bio-Tek Services, Inc.               EPower Doc, Inc.
36168 West Highway 51                     5310 Laburnum Ave.                   PO Box 88218
Mannford, OK 74044                        Henrico, VA 23231                    Atlanta, GA 30356




Air Evac EMS                              Briggs Corporation                   Evoqua Water Technologies LLC
1001 Boardwalk Springs Pl., Ste 250       4900 Univeristy Ave. Suite 200       210 Sixth Avenue
O Fallon, MO 63368                        West Des Moines, IA 50266            Pittsburgh, PA 15235




Airgas USA, LLC                           Byron Staples                        Fairfax Chief
1301 W. South Ave.                        401 S. 7th Street                    100 North 2nd Street
Ponca City, OK 74601                      Fairfax, OK 74637                    Fairfax, OK 74463-7000




Allred Recruiting Group                   Computer Products & Supplies Int.    Family Discount Pharmacy
Po Box 7261                               975 Nimco Drive, Unit C              310 Fairview Ave
Shawnee Mission, KS 66207                 Crystal Lake, IL 60014               Ponca City, OK 74601
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Fisher Scientific Company, LLC         Horizon Scientific, Inc.          Medassure
300 Industry Drive                     125 Varnfield Drive               920 E. County Line Road, Suite 10
Pittsburgh, PA 15275                   Summerville, SC 29483             Lakewood, NJ 08701




Gas & Supply                           Hutchison Plumbing                Medline Indusstries, Inc.
125 Thruway Park                       1090 W, Cherokee Street           8001 SW 47th Street
Broussard, LA 70518                    Jay, OK 74346                     Wheatland, OK 73097




GEHA                                   IHEALTHCARE INC                   Medusind, Inc.
Po Box 21542                           3901 NW 28th St., 2nd Floor       7725 W. Reno Ave.
Eagan, MN 55121                        Miami, FL 33142                   Oklahoma City, OK 73127




Gemino Healthcare Finance              Indian Electric Coopr FMH         Miller EMS, LLC
1 International Plaza                  2506 E. Old Hwy 64                514 1st Street
Suite 220                              Cleveland, OK 74020               Medford, OK 73759
Philadelphia, PA 19113



Grainger WW Inc.                       KCI USA, Inc.                     Modular Space Corporation
10707 E. Pine Street                   12930 Interstate Hwy 10 West      120 Swedesford Road
Tulsa, OK 74115                        San Antonio, TX 78249             Berwyn, PA 19312




Heartland Pathology Consultant         Kempton Company                   Mortara Instrument Inc.
3509 French Park Drive, Suite D        13431 Broadway Ext.               7865 N 86 Street
Edmond, OK 73034                       Oklahoma City, OK 73114           Milwaukee, WI 53224




HERC                                   Lapcorp                           NOA Medical Supply
1415 W. S. Ave                         PO Box 12140                      801 Terry Lane
Ponca City, OK 74601                   Burlington, NC 27215              Washington, MO 63090




Hippa-Guard                            Madison Medical                   Nursing Homes, LTD. Oklahoma
1608 S. Ashland Ave #86038             788 N. Jefferson St., #300        SW of City
Chicago, IL 60608                      Milwaukee, WI 53202               Nowata, OK 74048




HMS Health, LLC                        McKesson Corp                     Office Depot
13520 Potomac Riding Lane              9954 Mayland Drive, Suite 4000    820 SW 74th Street
Potomac, MD 20850                      Richmond, VA 23233                Oklahoma City, OK 73139
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Oklahoma Advantage Storehouse, LLC     PRN Funding LLC                       Standley Systems
403 N. Main Street                     25101 Chagrin Blvd #250               PO Box 460
Fairfax, OK 74637                      Beachwood, OH 44122                   Chickasha, OK 73023




Oklahoma Blood Institute               Quality Systems, Inc.                 State of OK - OSU Cntr for Hlth S
4601 E 81st Street                     PO Bolx 511449                        1111 W. 17th Street
Tulsa, OK 74137                        Los Angeles, CA 90051                 Tulsa, OK 74107




Pacific Medical, LLC                   Reboot, Inc.                          Stericycl
32981 Calle Perfecto                   PO Box 775535                         PO Box 6575
San Juan Capistrano, CA 92675          Chicago, IL 60677                     Carol Stream, IL 60197




Passport Health Communications, Inc    Respiratory Maintenance, Inc.         Sysco Food Services
3330 Northwest 56th Street #106        12312 Birch Street                    PO Box 1127
Oklahoma City, OK 73112                Leawood, KS 66209                     Norman, OK 73070




Patriot Placement Staffing             Rural Community Hospitals of Americ   The NatL Alliance of Rural Hospit
2105 Briarwood Drive                   Attn: Steven F. White                 120 North Monroe St.
Amarillo, TX 79124                     700 Chappell Road                     Tallahassee, FL 32308
                                       Charleston, WV 25304



Pawnee Chief                           Shared Medical Services, Inc.         Town of Fairfax
588 Illinois Street                    PO Box 330                            PO Box 399
Pawnee, OK 74058                       Cottage Grove, WI 53527               Fairfax, OK 74637




Piccpros, LLC                          Shi Headquarters                      Trainim Health Services
7146 S. Braden Ave., Suite 104         300 Davidson Ave                      25197 Network Place
Tulsa, OK 74136                        Somerset, NJ 08873                    Chicago, IL 60673




PLICO                                  Shred It OK City                      Tri-Tec Medical Inc.
PO Box 1838                            2616 Vermont Avenue                   2255 Germantown Road South
Oklahoma City, OK 73101                Oklahoma City, OK 73108               Germantown, TN 38138




Ponca City News                        Sizewize                              Trucode LLC
300 North Third                        PO Box 320                            PO Box 5847
Ponca City, OK 74601                   Ellis, KS 67637                       Alpharetta, GA 30023
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United Linen & Uniform
PO Box 4586
Bartlesville, OK 74005




US Specialty Labs
11578 Sorrento Valley Road
San Diego, CA 92121




Verison Wireless Services, LLC
PO Box 660108
Dallas, TX 75266




Vonco Medical Products, Inc.
1625 W. Crosby Rd., Suite 120
Carrollton, TX 75006




Vyne Education, LLC
9020 Overlook Blvd, Suite 140
Brentwood, TN 37027




Wallach Surgical Devices
95 Corporate Drive
Trumbull, CT 06611




Works & Lentz of Tulsa, Inc.
1437 Boulder, Suite 900
Tulsa, OK 74149
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                                                               United States Bankruptcy Court
                                                                     Eastern District of North Carolina
 In re      CAH Acquisition Company 12, LLC                                                               Case No.
                                                                                     Debtor(s)            Chapter     11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for CAH Acquisition Company 12, LLC in the above captioned action, certifies that the
following is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or
more of any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 March 17, 2019                                                         /s/ Rayford K. Adams III
 Date                                                                   Rayford K. Adams III
                                                                        Signature of Attorney or Litigant
                                                                        Counsel for CAH Acquisition Company 12, LLC
                                                                        Spilman Thomas & Battle, PLLC
                                                                        110 Oakwood Drive
                                                                        Suite 500
                                                                        Winston Salem, NC 27103
                                                                        336-725-4710 Fax:336-725-4476
                                                                        tadams@spilmanlaw.com




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